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8                              UNITED STATES DISTRICT COURT
9          CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
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     NAMELI TAUTOLO,                           CASE NO.: 2:20-CV-07212-VAP (JEMx)
11
                  Plaintiff,                   ORDER REGARDING STIPULATION
12                                             FOR DISMISSAL
     v.                                        OF DEFENDANT, TARGET
13                                             CORPORATION
14   TARGET CORPORATION, a
     Minnesota Corporation; and DOES 1
15   through 50, Inclusive,
16                Defendants.
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19         Pursuant to Rule 41(a)(1), the settlement reached by the parties and the
20   Stipulation for Dismissal, the Court hereby dismisses the complaint, with
21   prejudice.
22         IT IS SO ORDERED.
23

24   DATED: April 26, 2021                  ___________________________________
25                                                    Virginia A. Phillips
                                                  United States District Judge
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